Case 3:17-cv-02366-BAS-KSC        Document 294-6    Filed 09/26/19   PageID.7987   Page
                                         1 of 9


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  16                        SOUTHERN DISTRICT OF CALIFORNIA
  17
       Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
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                          Plaintiffs,
                                                    DECLARATION OF NICOLE
  20            v.                                  RAMOS
  21   Kevin K. McAleenan, 1 et al.,
  22                      Defendants.
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  28    Acting Secretary McAleenan is automatically substituted for former Secretary
       Nielsen pursuant to Fed. R. Civ. P. 25(d).
Case 3:17-cv-02366-BAS-KSC   Document 294-6    Filed 09/26/19   PageID.7988   Page
                                    2 of 9



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                                                                   RAMOS DECLARATION
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7989   Page
                                    3 of 9
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7990   Page
                                    4 of 9
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7991   Page
                                    5 of 9
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7992   Page
                                    6 of 9
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7993   Page
                                    7 of 9
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7994   Page
                                    8 of 9
Case 3:17-cv-02366-BAS-KSC   Document 294-6   Filed 09/26/19   PageID.7995   Page
                                    9 of 9
